
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


        No. 96-2066

                                   PLAY TIME, INC.,

                                      Appellee,

                                          v.

                        LDDS METROMEDIA COMMUNICATIONS, INC.,
                          a/k/a WORLDCOM, INC. OR WORLDCOM,

                                      Appellant.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________

                                                     
                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                                     
                                 ____________________



             Joan A. Lukey,  with whom Anthony A. Scibelli and  Hale and Dorr,
             _____________             ___________________      ______________
        LLP were on brief for appellant.
        ___
             Kenneth L.  Kimmell,  with whom  Erin M.  O'Toole and  Bernstein,
             ___________________              ________________      __________
        Cushner &amp; Kimmell, P.C. were on brief for appellee.
        _______________________


                                                     
                                 ____________________

                                   August 12, 1997
                                                     
                                 ____________________


















                    CYR,   Senior  Circuit   Judge.     Defendant-appellant
                    CYR,   Senior  Circuit   Judge
                           _______________________

          WorldCom challenges  a district  court judgment  awarding damages

          for breach  of its  agreement to  assign plaintiff-appellee  Play

          Time, Inc.  ("Play Time")  a toll-free "800"  vanity number.   We

          affirm the district court judgment in all respects.

                                          I
                                          I

                                     BACKGROUND1
                                     BACKGROUND
                                     __________

                    WorldCom,  a  corporation  with its principal  place of

          business  in Jackson,  Mississippi,  and  an  office  in  Revere,

          Massachusetts,  provides   subscribers  with   specialized  long-

          distance services, including toll-free "800"  numbers.2  Pursuant

          to industry standards,  toll-free "800" numbers  are stored in  a

          central  database  known  as the  800  Service  Management System

          ("SMS/800").   All "800"  numbers are  reserved  and assigned  to

          subscribers by so-called Responsible  Organizations ("RESP ORGs")

          through SMS/800.  

                    In  March  1994,  Play  Time,  a   Massachusetts-based,

          family-owned  corporation  engaged in  selling art  supplies, was

          endeavoring to expand into nationwide telephonic networking aimed

          at the commercial real estate leasing market.  Michael Levosky, a

          Play Time  shareholder and  co-manager,  envisioned a  nationwide

          referral service through  which potential customers could  call a

                              
          ____________________

               1"We recite the  facts as the jury and  district court could
          have found them."  Roche v.  Royal Bank of Canada, 109 F.3d  820,
                             _____     ____________________
          821 (1st Cir. 1997). 

               2At the time of the  relevant events, its corporate name was
          LDDS Metromedia Communications, Inc.  

                                          2














          toll-free  "800" number and  enter information into  an automated

          call router which  would link the caller to a  real estate office

          near the place the caller wanted to lease commercial real estate.

          Play Time would generate income from the fees charged real estate

          brokers for  their advertising and  usage of the  toll-free "800"

          number.

                    To that  end, Play  Time set out  to obtain  a suitable

          vanity  number,  one  whose alphabetical  counterpart  conveyed a

          business message  readily identified  and remembered  by targeted

          customers.   Levosky  decided  to  obtain 1-800-"367-5327"  ("the

          Number"),  which  would  transpose  as "FOR-LEAS[E]."    WorldCom

          advised  Levosky that  the Number,  though not  then in  use, was

          expected to become available a few weeks later, on or about April

          20, 1994.3

                    Levosky   called   the  WorldCom   office   in  Revere,

          Massachusetts, which  handled other  telephone business  for Play

          Time, and  spoke with the  "800" coordinator, Martha  Burton, who

          confirmed  that the Number  would become available  in mid-April.

          Burton assured Levosky  that she would obtain  the Number through

                              
          ____________________

               3The SMS/800 system records the status of all "800" numbers.
          Normally, "800"  numbers fall into  one of five  main categories:
          "assigned," "working,"  "spare," "disconnect,"  or "unavailable."
          After a subscriber  advises that it no longer  needs a particular
          "800" number, the number is  allowed to age for approximately six
          months  before reverting  to  "spare" status.    Only numbers  in
          "spare"  status are immediately available to the next subscriber.
          A number in "spare" status is not assigned to any particular RESP
          ORG, but  can be assigned to a subscriber  by any RESP ORG simply
          by  reserving it  with SMS/800.   Once an  "800" number  has been
          assigned to a particular RESP ORG, however, no other RESP ORG can
          control its status. 

                                          3














          SMS/800  and assign  it to  Play  Time once  it attained  "spare"

          status.

                    On  April 20, 1994, one  week after WorldCom became the

          RESP ORG for the Number, and the day  the Number was to revert to

          "spare" status, Levosky reminded WorldCom to assign the Number to

          Play  Time.4  Notwithstanding  that WorldCom had  been designated

          the RESP ORG for the Number, however, it did not do so.   Levosky

          called WorldCom frequently between April  20 and May 10, 1994, to

          ascertain  why the Number had not yet been assigned to Play Time,

          only to be told essentially that WorldCom was checking into it.

                    On  May  11,  1994, Levosky  called  Joseph  Shannon, a

          senior account executive in WorldCom's Revere office, who assured

          Levosky that the  Number could be assigned to Play  Time once the

          appropriate paperwork  had  been  completed.    Levosky  promptly

          executed the required documents and returned  them to Shannon the

          same day; Shannon faxed  them to the WorldCom RESP ORG  office in

          San Antonio on May 12. 

                    Although  the WorldCom fax machine in the Revere office

          printed a  receipt reflecting that  the fax had been  received in

          San Antonio on May 12, when Shannon called the San Antonio office

          on  May 13  he was  informed that  the documents  had never  been

          received.  Once again Shannon  faxed the documents.  Although the

                              
          ____________________

               4Any  RESP  ORG  may  reserve  a number  in  "spare"  status
          directly through SMS/800.  The  number is then "reported to" that
          RESP ORG, in  "reserve" status.   At all times  relevant to  this
          appeal,  a number  could remain  in reserve status  for up  to 60
          days.   Thereafter, it  automatically reverted to  "spare" status
          unless it had achieved "assigned" or "working" status.  

                                          4














          second set of documents was received in San Antonio on May 13, as

          confirmed by telephone, still the Number was not assigned to Play

          Time.    Shannon was  told  the delay  was  due to  difficulty in

          getting  the  Number released  from SMS/800,  notwithstanding the

          fact that WorldCom  was already the RESP ORG for the Number.  But
                                                                        ___

          see supra note 3.
          ___ _____

                    Meanwhile,  one Michael  Eisemann had asked  a WorldCom

          office  in Indiana  to  obtain  the Number  for  his real  estate

          business.   Eisemann intended to  use the Number in  a nationwide

          referral system  similar to that  envisioned by Levosky.   On May

          20, 1994,  approximately two months  after Levosky  first made  a

          verbal request for the Number and nine days after Levosky's first

          written request,  Eisemann submitted  the order  to the  WorldCom

          office  in Indiana,  with  the  required  paperwork.    Levosky's

          earlier requests notwithstanding, WorldCom assigned the Number to

          Eisemann, because its Revere office had never entered Play Time's

          request into SMS/800. 

                    Unaware that Eisemann had obtained  the Number, Levosky

          continued to inquire into its  status.  Although Levosky was told

          there  had been  some  delay due  to paperwork  problems, Shannon

          advised him  that the problems  had been resolved and  the Number

          would soon  be assigned to Play Time.   On May 26, Levosky dialed

          the  Number to  determine whether  it would  ring at  Play Time's

          office.   The  call  was answered  instead by  an  employee in  a

          Detroit,  Michigan,   maintenance  office.     Whereupon  Levosky

          contacted WorldCom,  only to  be informed that  there had  been a


                                          5














          computer "glitch."

                    Although WorldCom switched  the Number to Play  Time on

          May  27,  by May  31 it  was  once again  ringing at  the Detroit

          maintenance office.  The Number changed hands between Levosky and

          Eisemann four  more times between  May 31 and June  2, ultimately

          remaining with  Eisemann.   On June 2,  Shannon tracked  down the

          Indiana sales representative responsible for assigning the Number

          to Eisemann, and learned for the first time that Eisemann too had

          requested the  Number.   After  Shannon informed  Levosky of  the

          problem,   Levosky  complained   that  WorldCom   originally  had

          retrieved the Number  from SMS/800 at his request,  more than two

          months earlier.   Levosky then asked  WorldCom to disconnect  the

          Number pending an investigation.

                    Shannon and  his supervisor,  Charles Hurd,  approached

          senior WorldCom management in the Revere  office, urging that the

          Number be  returned to Play  Time.  Hurd informed  Brady Buckley,

          Vice President of  sales for the eastern region,  that the Number

          had been taken from Play Time.  Buckley asked Hurd how much money

          the  Number could be  expected to  produce.   Hurd was  unable to

          answer the  question.  Buckley  finally told Hurd:   "F--- it[;]"

          "leave it alone."

                    Upon  learning that  the Revere  office  was unable  or

          unwilling  to  assist  him  further,  Levosky  contacted  Deborah

          Surrette, WorldCom Vice President for the Northeast region.  When

          Levosky explained why  the Number was so important  to Play Time,

          Surrette promised to investigate the  matter and get back to him.


                                          6














          Surrette asked  Kelle Reeves,  director of customer  provisioning

          and  RESP ORG,  to  determine whether  WorldCom  policy had  been

          followed in  regard to the  Number.  After speaking  with several

          people,  but  without  attempting either  to  contact  the Revere

          office  or to  ascertain which  customer had first  requested the
                                                              _________

          Number, Reeves simply  concluded that WorldCom had  complied with

          industry  guidelines requiring "800" numbers to be allocated on a

          "first-come, first-served"  basis, as Eisemann's request had been

          the first to be entered into SMS/800.5

                    Levosky continued to urge WorldCom to return the Number

          to Play  Time, but was  told that industry  guidelines prohibited

          its reassignment.    See  supra note  5.    Levosky  nevertheless
                               ___  _____

          maintained  that Play  Time had  been  the first  to request  the

          Number.   WorldCom  then  altered  course,  explaining  that  its

          relationship  with  Levosky  was   not  controlled  by   industry
                                             ___

          guidelines, which govern only the relationship between a RESP ORG

          and SMS/800.

                    At that point, WorldCom wrongly  represented to Levosky

          that the problem had been caused by AT&amp;T.  According to WorldCom,

          AT&amp;T had  been the RESP ORG for the Number  on the date Play Time

          requested  it,  but had  released  the Number  to  "spare" status

          rather than assigning it to  WorldCom.  To the contrary, however,

          AT&amp;T was never the RESP ORG  for the Number after 1993.   Rather,
                              
          ____________________

               5Industry guidelines  provide  that:  "Specific  800  Number
          requests  are honored  based on  availability,  on a  first-come,
          first-served  basis, at  the  time  the  reservation  request  is
          initiated by a  RESP ORG into SMS/800."   Industry Guidelines for
          800 Number Administration, 2.3.1 (Issue 3.0, December 1, 1993)

                                          7














          as we  have noted, WorldCom  itself had been the  designated RESP

          ORG since April 13, 1994.

                    Finally, WorldCom informed  Levosky that the  documents

          he had submitted  through Shannon, see supra  p. 4, had  not been
                                             ___ _____

          received  by its  San Antonio  office  until after  the May  20th

          request from Eisemann,  even though  a WorldCom  employee in  San

          Antonio had confirmed receipt of the Levosky paperwork on May 13.

          Play  Time brought  suit against  WorldCom on  November 9,  1994,

          demanding  damages  and  specific  performance.    Shortly  after

          Eisemann  was named  an indispensable  party in  relation to  the

          specific performance  claim     because he  still controlled  the

          Number    he  changed long-distance carriers to  prevent WorldCom

          from returning the Number to Play Time.

                    Play Time  then offered  Eisemann  an immediate  $5,000

          non-refundable deposit and an additional $45,000 following trial,

          in  return for  the Number.    At the  same time,  it  offered to

          dismiss its  action against Eisemann  if he would testify  to the

          value of  the Number.   Eisemann  countered with  a demand for  a

          $10,000  non-refundable deposit and  $40,000 after trial.   Their

          negotiations  ultimately fell through because Play Time could not

          come up with the additional $5,000 non-refundable deposit.

                    Eisemann  nevertheless  testified  at  trial  that  the

          Number did have inherent value, explaining that "people would buy

          the [vanity]  number for [its]  potential value."  He  produced a

          pamphlet he had  developed for marketing the Number,  touting the

          importance of  vanity  numbers in  reaching potential  customers.


                                          8














          Although Eisemann  acknowledged that  he was  motivated to  enter

          into an agreement  with Levosky in part because he  wanted to get

          Levosky "out of  his hair," he  consistently maintained that  the

          Number had inherent value.

                    The jury returned verdicts for Play Time on all counts,

          awarding $50,000 in damages on each count, representing the value

          of  the  Number under  a  "willing-transferor-willing-transferee"

          standard.   The  total  award was  limited  to $50,000,  however,

          because  the jury  determined that recovery  under more  than one

          count would be redundant. 

                    At  a later  hearing, the  presiding  judge found  that

          WorldCom had violated Mass. Gen. Laws ch. 93A,  11, which affords

          civil  relief from unfair  or deceptive business  practices.  The

          court  determined WorldCom's  conduct both unfair  and deceptive,

          and  held  that  it had  occurred  "primarily  and substantially"

          within Massachusetts.  Accordingly, the court trebled the $50,000

          damages award made by the jury, see Mass. Gen. Laws ch. 93A,   11
                                          ___

          (1984), and awarded attorney fees and costs under Mass. Gen. Laws

          ch.  93A  and  the  Federal Communications  Act.    Finally,  the

          equitable claim for  specific performance was dismissed  as moot.

          WorldCom promptly appealed from the $233,334.84 judgment.

                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          1.   Jury Instructions and Verdict Form
          1.   Jury Instructions and Verdict Form
               __________________________________

                    WorldCom claims the district court erred in instructing

          the  jury  to   apply  a  "willing-transferor-willing-transferee"


                                          9














          standard for measuring damages.   It maintains that "800" numbers

          are without  inherent value as  a matter  of law, since  it would

          violate  industry guidelines and public policy to allow telephone

          numbers to be bought and sold on the open market.  

                    Throughout the trial, Play Time made it very clear that

          it was demanding the value of the Number.  Early on, the district

          court set  itself  to the  task  of articulating  an  appropriate

          measure of damages.  WorldCom voiced no objection to the district

          court's proposed  articulation of  the measure  of damages  until

          after the close of the evidence.  At that time, its trial counsel

          offered two cursory observations. 

                    First, WorldCom stated  that the measure of  damages on

          the  negligence  claim  should  be  different  from that  on  the

          contract claim.   Its second observation appears in the following

          exchange: 

                    WorldCom:  Your Honor, just for the record, I
                    ________   ____ _____       ___ ___ ______  _
                    haven't  made  any comments  on  the willing-
                    _______  ____  ___ ________  __  ___ ________
                    assignor-willing-assignee  theory.    I  just
                    _________________________  ______
                    wanted  to  reflect what  the  record so  far
                    reflects, that by not making  any comments on
                    it, I don't adopt it as --

                    The Court:  Well, you'll have the opportunity
                    _________
                    to make objection.

                    WorldCom:  Yes.
                    ________

                    The Court:  But if you've got any alternative
                    _________   ___ __ ______ ___ ___ ___________
                    way  of dealing with this matter, of course I
                    ___  __ _______ ____ ____ ______            _
                    want to hear it now.
                    ____ __ ____ __ ___

                    WorldCom:  Right.   I don't think I  do other
                    ________            _ _____ _____ _  __ _____
                    than simply to  ask you to instruct  the jury
                    ____        __  ___ ___ __ ________
                    in accordance  with my  requested instruction
                    __ __________  ____ __  _________ ___________
                    on  damages, and  I expect  that's  what I'll
                    simply do after closings.  (Emphasis added.)


                                          10














          The record on  appeal neither contains a  proposed instruction by

          WorldCom nor  reflects  the  grounds  for its  objection  to  the

          instruction given by the district court.  

                    The  special verdict form  included a statement  of the

          issues  relating  to  the "willing-transferor-willing-transferee"

          standard, as follows:

                    1(c).  What  amount of money, if any,  do you
                    find to be fair  and reasonable compensation,
                    of each  of the  following types,  for .  . .
                    breach . . . of contract?   Answer in DOLLARS
                    or NONE.

                    (1)   Reimbursement  of  losses  proved by  a
                    preponderance of  the evidence  to have  been
                    out-of-pocket expenses.

                    (2)   Fair  market value  (as  valued by  the
                    willing-transferor-willing-transferee   stan-
                    dard)  of a  transfer,  by Eisemann  to  Play
                    Time,  on or  about  September  21, 1995,  of
                    Eisemann's rights to use the number  800-367-
                    5327.

          The  same formula  was  used for  the  contract, negligence,  and

          Federal Communications Act claims.

                    The presiding judge  explained the "willing-transferor-

          willing-transferee" standard to the jury as follows:  

                         The  willing   transferor  and   willing
                    transferee are  hypothetical persons  created
                    by the  law to  help us  decide questions  of
                    valuation in circumstances  in which no  real
                    persons have arrived  at an  exact value  for
                    the  property or  property  rights at  issue.
                    You, as  decisionmakers on  this question  of
                    value, are directed to envision not the usual
                    arm's-length  transactions between  real-life
                    bargainers, but instead a  transaction of the
                    hypothetical variety  - indeed of  a contrary
                    to fact variety.   If the reality is  that in
                    human experience a  property interest exactly
                    like  that transferred in  this case  has not
                    been   transferred    in   an    arm's-length

                                          11














                    transaction  between  real people,  you  must
                    imagine a  transaction not  exactly like  any
                    transaction described in  the evidence before
                    you.

                         These hypothetical persons,  the willing
                    transferor  and  willing  transferee,  always
                    come to an  agreement.  They never  end their
                    negotiations in failure.  They always  arrive
                    at a value they both agree upon.

                         The  aim of  factfinding  by using  this
                    willing-transferor-willing-transferee
                    standard is to help you evaluate the parties'
                    evidence, and their  arguments about evidence
                    and  about formulas  and  figures, and  about
                    other factors in evidence  that bear upon the
                    issue  of  value.     You  are  to   do  your
                    evaluation in  the way  you find  the willing
                    transferor  and   willing  transferee   would
                    evaluate the same factors and arguments.

                         To  these  persons   different  formulas
                    suggested   by  opposing   parties  are   not
                    binding.  They  are only tools.   The willing
                    transferor  and  willing  transferee  do  not
                    overlook relevant evidence.  They weigh every
                    relevant factor.   They are not experts,  but
                    they  are attentive to expert advice.  But in
                    the  end they make  a pragmatic decision that
                    enables  them to come to a common value after
                    evaluating all of the  evidence and arguments
                    before them.

                    After the jury charge had been delivered, the presiding

          judge invited  objections to the  charge and the  special verdict

          form.  At that point, WorldCom simply registered its objection to

          the  "instruction  on the  measure  of damages"  relating  to the

          "willing-transferor-willing-transferee" standard.   The  district

          court overruled the objection. 

                    Objections to jury instructions are governed by Fed. R.

          Civ. P. 51, which provides in relevant part that "[n]o  party may

          assign as error  the giving or the failure to give an instruction


                                          12














          unless  that party  objects thereto  before the  jury retires  to

          consider its verdict,  stating distinctly the matter  objected to
                                 _______ __________ ___ ______  ________ __

          and the grounds of the objection."   Fed. R. Civ. P. 51 (emphasis
          ___ ___ _______ __ ___ _________

          added).  We  have "consistently held that the  strictures of Rule

          51 must be followed  without deviation."  Smith v.  Massachusetts
                                                    _____     _____________

          Inst. of Tech.,  877 F.2d 1106, 1109  (1st Cir. 1989).   See also
          ______________                                           ___ ____

          Kerr-Selgas v. American  Airlines, Inc., 69 F.3d 1205,  1213 (1st
          ___________    ________________________

          Cir. 1995).6 

                    Assignments of error duly preserved pursuant to Rule 51
                                                                         __

          are subject  to the "harmless error"  regime set out in  Rule 61,
                                                                        __

          which requires  the reviewing court  to "disregard  any error  or
                ________

          defect in the  proceeding which does  not affect the  substantial

          rights of  the parties."   Fed. R.  Civ. P.  61.7   Absent strict

          compliance with  Rule 51, however, appellate challenges to a jury

          charge or verdict form  cannot succeed unless the  assigned error

          "caused  a  miscarriage  of  justice  or .  .  .  undermined  the

          integrity of the judicial process."  Scarfo v. Cabletron Systems,
                                               ______    __________________
                              
          ____________________

               6The Rule  51 standard  applies to the  jury charge  and any
          special verdict form.  See  Transamerica Premier Ins.Co. v. Ober,
                                 ___  ____________________________    ____
          107 F.3d 925,  933 (1st Cir.  1997); Clausen v.  Sea-3, Inc.,  21
                                               _______     ___________
          F.3d 1181, 1195-96 (1st Cir. 1994).

               7WorldCom insists that the jury instruction must be reviewed
          de  novo.     Although  we  exercise  "independent   judgment  in
          __  ____
          evaluating the  legal correctness  of the  district court's  jury
          instructions," Data General  v. Grumman Systems Support,  36 F.3d
                         ____________     _______________________
          1147, 1159  (1st Cir. 1994),  and may review the  special verdict
          form for abuse of discretion,  see  Transamerica Premier Ins. Co.
                                         ___  _____________________________
          v. Ober, 107  F.3d 925, 933  (1st Cir. 1997),  a party which  has
             ____
          complied with  Rule 51 nonetheless  must show  that the  assigned
          error  affected "substantial  rights," see  Fed.  R. Civ.  P. 61,
                                                 ___
          whereas  a  party  which  has  not complied  with  Rule  51  must
          demonstrate a "miscarriage of justice."   See Scarfo v. Cabletron
                                                    ___ ______    _________
          Systems, Inc., 54 F.3d 931, 940 (1st cir. 1995).
          _____________

                                          13














          Inc., 54  F.3d 931, 940 (1st Cir. 1995);  see also Lash v. Cutts,
          ____                                      ___ ____ ____    _____

          943 F.2d 147,  152 (1st Cir. 1991) ("Absent  timely objection, an

          erroneous  jury  instruction warrants  a  new trial  only  in the

          exceptional case where the error seriously affected the fairness,

          integrity  or   public  reputation   of  judicial   proceedings."

          (internal quotation  marks omitted));  Elwood v.  Pina, 815  F.2d
                                                 ______     ____

          173,  176 (1st Cir. 1987).  The  latter standard    "plain error"

             see Transamerica Premier Ins.  Co. v. Ober, 107 F.3d 925,  933
             ___ ______________________________    ____

          (1st Cir. 1997); Kerr-Selgas, 69  F.3d at 1213; Elgabri v. Lekas,
                           ___________                    _______    _____

          964 F.2d  1255, 1259 (1st  Cir. 1992);  Elwood, 815 F.2d  at 176,
                                                  ______

          "'is near its  zenith in the Rule 51 milieu.'"  Clausen v. Sea-3,
                                                          _______    ______

          Inc.,  21 F.3d  1181, 1196  (1st Cir.  1994) (quoting  Toscano v.
          ____                                                   _______

          Chandris, S.A., 934 F.2d 383, 385 (1st Cir. 1991)).
          ______________

                    Rule  51  requires  a  punctual  objection  identifying

          "distinctly the matter objected to  and the grounds of the objec-
                                                  ___ _______ __ ___ ______

          tion."  Fed.  R. Civ.  P. 51  (emphasis added).   Here,  however,
          ____

          WorldCom  interposed no record  objection to the  special verdict

          form, as distinguished from the jury charge defining "the measure

          of   damages."    Moreover,   WorldCom  articulated   no  grounds
                                                                    _______

          whatsoever for its  objection to the special verdict  form or the

          jury charge.        Failure   to   object  with   the   requisite

          particularity forfeits  review under  the "harmless error"  rule.
                                         _____  ___  ________ _____   ____

          See Scarfo,  54 F.3d at  944; Linn v. Andover  Newton Theological
          ___ ______                    ____    ___________________________

          School, Inc., 874 F.2d 1, 5 (1st  Cir. 1989); Elwood, 815 F.2d at
          ____________                                  ______

          175-76; New  York, N.H. &amp; H.R. Co. v.  Zermani, 200 F.2d 240, 245
                  __________________________     _______

          (1st Cir.  1952).  Consequently,  appellate review is  limited to


                                          14














          determining whether a miscarriage of justice would occur were the

          asserted  error not  corrected.    See Scarfo,  54  F.3d at  940.
                                             ___ ______

          WorldCom can demonstrate no miscarriage of justice.  

                    First,  the "fair market value" standard defined by the

          district court,  see supra  pp. 11-12, provided  the jury  with a
                           ___ _____

          just and reasonable measure of damages under Massachusetts law in

          these circumstances.   See Mechanics Nat'l. Bank of  Worcester v.
                                 ___ ___________________________________

          Killeen, 384 N.E.2d  1231, 1239 (Mass. 1979)  (holding, in action
          _______

          for breach of contract caused by wrongful foreclosure and sale of

          shares  of stock,  plaintiff was  "entitled to  recover the  fair

          market  value of  the stock at  the time  of its sale");  Hall v.
                                                                    ____

          Paine, 112 N.E. 153, 155  (Mass. 1916) (holding that "fair market
          _____

          value" was proper measure of damages for stock broker's breach of

          margin agreement  caused by  sale of  plaintiff's shares  without

          authorization; noting that, generally speaking, fair market value

          is proper measure  of damages for breach of  contract relating to

          sale of goods  which have an ascertainable value  on the market).

          Thus,  at  the  very  least,  the  "fair  market  value" standard

          articulated   by  the   district  court   effectively  foreclosed

          WorldCom's claim of  error under the "plain  error" ("miscarriage

          of justice.") standard.8  The failure [to] instruct the jury on a
                              
          ____________________

               8Under  the harmless error rubric, trial court error affects
          "substantial  rights" only if it results in substantial prejudice
          or has  a substantial  effect on the  outcome of  the case.   See
                                                                        ___
          Lataille  v. Ponte,  754 F.2d  33, 37  (1st Cir.  1985) (defining
          ________     _____
          harmless error, in context of challenge to admission of evidence,
          as "whether we can say 'with fair assurance ... that the judgment
          was  not  substantially  swayed by  the  error'"  (quoting United
                                                                     ______
          States v. Pisari  636 F.2d 855, 859 (1st  Cir. 1981)) (alteration
          ______    ______
          in  original)).   See also  12 JAMES  WM. MOORE  ET AL.,  MOORE'S
                            ___ ____

                                          15














          measure of damages  other than the fair market  value cannot meet

          either  standard,   however,  especially  since   the  challenged

          instruction  outlined a fair  and reasonable measure  of damages,

          and no other standard was proposed below.  

                    WorldCom misses  the mark  with its  argument that  the

          Number had no market  value because its sale,  brokering, barter,

          or  release  for a  consideration  was  prohibited.9   Quite  the
                              
          ____________________

          FEDERAL PRACTICE    61.02[2] (3d ed. 1997).   In order to satisfy
          the  "plain error" standard of review ("miscarriage of justice"),
          however,  an   appellant  must   show  "more   than  the   simple
          individualized harm which occurs whenever a litigant's failure to
          object . . . alters  the outcome of a trial."   9 MOORE'S FEDERAL
          PRACTICE    51.21[2].   Among the factors  to be  considered are:
          whether the  failure  to  raise  the  claim  below  deprived  the
          reviewing court of  helpful factfinding; whether the issue is one
          of  constitutional magnitude;  whether  the  omitted argument  is
          highly  persuasive; whether the opponent would suffer any special
          prejudice; whether  the omission  was inadvertent  or deliberate;
          and, perhaps  most importantly,  whether the  issue  is of  great
          importance to the  public.  See National Ass'n  of Social Workers
                                      ___ _________________________________
          v. Harwood; 69  F.3d 622,  627-28 (1st  Cir. 1995)  ("legislative
             _______
          immunity" defense considered  on appeal despite failure  to raise
          it below).  See also 9 MOORE'S FEDERAL PRACTICE   51.21[2].   Our
                      ___ ____
          case, which implicates only the question of damages for breach of
          a private agreement  between the litigants, presents  no issue of
          great  public importance or constitutional magnitude; the Harwood
                                                                    _______
          factors, therefore, weigh in  favor of Play Time.   Nor does  the
          present case  implicate the integrity of the judicial process, as
          the proceedings below were conducted with meticulous attention to
          the rights of both parties.  See Scarfo, 54 F.3d at 940.
                                       ___ ______

               9The relevant industry guideline provides: 

                         800  numbers  are not  to be  treated as
                    commodities which can be  bought or sold  and
                    no  individual   or  entity   is  granted   a
                    proprietary  interest   in  any   800  number
                    assigned.     RESP   ORGs  and   800  Service
                    Providers   are   prohibited   from  selling,
                    brokering, bartering, or releasing for a  fee
                    (or other consideration) any 800 number.
                         Reserving,   Assigning,   or  activating
                    (Working)  800  Numbers  by  RESP  ORGs,  800
                                    _______
                    Service  Providers,  or   Customers  for  the

                                          16














          contrary,   the    pertinent   Industry    Guideline   explicitly

          acknowledges  the   ultimate  right  of  "800   Service  End-User

          Subscriber[s]  . .  . to  control  their 800  Service, and  their

          reserved, active,  or assigned  800 Service  Numbers."   Industry

          Guidelines  for 800 Number  Administration 2.2.1,  3  (Issue 3.0,

          December  1, 1993).10  Instead, industry guidelines prohibit only

          RESP  ORGs and "800" Service Providers from trading "800" numbers

          for valuable consideration.  Id.  2.2.1,  1.  Subscribers, on the
                                       ___

          other hand, are prohibited only from obtaining "800" numbers  for

          the primary purpose of trading in them.  Id. 2.2.1,  2.
              _______ _______                      ___

                    Thus,  industry  guidelines did  not impede,  let alone

          foreclose, a  jury finding that  the right to control  the Number

          had  inherent value in  the marketplace.   Consequently, WorldCom

          failed  to  establish  that  any  right to  use  the  Number  was

          valueless as a matter of law, let alone that any "error seriously

          affected the fairness, integrity or public reputation of judicial

                              
          ____________________

                    primary   purpose   of   selling,  brokering,
                    bartering, or releasing for  a fee (or  other
                    consideration) that 800 Number is prohibited.
                                            ______
                         However, the  800 Service  End-User Sub-
                    scriber  has the  ultimate  right to  control
                    their  800   Service,  and   their  reserved,
                    active, or assigned 800 Service Numbers.

          Industry Guidelines  for 800  Number Administration 2.2.1  (Issue
          3.0, December 1, 1993). 

               10Similarly, the  WorldCom tariff provided  that subscribers
          have  "no  ownership   interest  or  proprietary  right   in  any
          particular 800  number," but  explicitly stated  also that  "upon
          placing  a  number  actually  and  substantially in  use  .  .  .
          [WorldCom] 800 Service  Customers do have a  controlling interest
          in  this [sic]  800 number(s)."    Tariff F.C.C.  No. 2,  C.3.3.3
          (February 7, 1994).  

                                          17














          proceedings."   Lash, 943 F.2d  at 152 (internal  quotation marks
                          ____

          omitted).

          2.   Judgment as a Matter of Law11
          2.   Judgment as a Matter of Law
               ___________________________

                    WorldCom  also  challenges  the district  court  ruling

          denying its motion for judgment  as a matter of law.  See Fed. R.
                                                                ___

          Civ. P.  50.  It  assigns two  errors:  (i)  Play Time  failed to

          establish recoverable damages, and (ii) sustained no damages from

          any WorldCom  negligence.  As  WorldCom maintains that  Play Time
                                                  

          failed to prove  to a reasonable certainty that  it sustained any

          damages as  a result of its failure to  assign the Number to Play

          Time, we must inquire whether Play Time presented enough evidence

          to enable a reasonable jury to determine, to the requisite degree

          of certainty, the value of the Number.12

                    Our inquiry is guided by Massachusetts law:

                    The fundamental principle  of law upon  which
                    damages for  breach of contract  are assessed
                              
          ____________________

               11Appellate  challenges  under  Rule 50  face  a  formidable
          hurdle:

                    Review of [a] denial of a motion for judgment
                    as a  matter of  law is plenary.  . .  . [W]e
                    review the record in the light most favorable
                    to the non-moving party.  We will reverse the
                    denial of  such a  motion only  if reasonable
                    persons could not have reached the conclusion
                    that the jury embraced.

          Ansin v. River Oaks Furniture, Inc., 105 F.3d 745, 753 (1st  Cir.
          _____    __________________________
          1997)  (internal quotation  marks  omitted),  petition for  cert.
                                                        ________ ___  _____
          filed, 65 U.S.L.W. 3839 (U.S. June 10, 1997) (No. 96-1969).
          _____

               12WorldCom resurfaces its jury instruction challenge    that
          the Number had  no inherent value,  see supra p.  9; hence,  Play
                                              ___ _____
          Time established no  recoverable damages.  As the  Number was not
          valueless as a matter of law, see supra pp. 16-17, its claim must
                                        ___ _____
          be rejected in the present context as well.

                                          18














                    is  that the injured party shall be placed in
                    the same position  he would have been  in, if
                    the contract  had been  performed, so  far as
                    loss can be ascertained to have followed as a
                    natural consequence and  to have been  within
                    the   contemplation   of   the   parties   as
                    reasonable men as  a probable  result of  the
                    breach, and so  far as compensation  therefor
                    in money can be computed by  rational methods
                    upon a firm basis of facts . . . .

          John Hetherington  &amp; Sons,  Ltd. v. William  Firth, Co.,  95 N.E.
          ________________________________    ___________________

          961, 964  (Mass. 1911).   See also  Hendricks &amp; Assocs.,  Inc. v.
                                    ___ ____  __________________________

          Daewoo  Corp.,  923  F.2d  209,  213  (1st Cir.  1991)  (applying
          _____________

          Hetherington).    Thus,  it  was  incumbent  upon  Play  Time  to
          ____________

          establish  a firm evidentiary foundation for the damages claimed,

          leaving  no  essential  element   to  "'conjecture,  surmise   or

          hypothesis."   Snelling  &amp; Snelling  of Mass.  Inc. v.  Wall, 189
                         ____________________________________     ____

          N.E.2d 231, 232  (Mass. 1963) (quoting  Hetherington, 95 N.E.  at
                                                  ____________

          964).   See also Air Safety, Inc. v. Roman Catholic Archbishop of
                  ___ ____ ________________    ____________________________

          Boston, 94 F.3d 1, 4 (1st Cir. 1996); Hendricks, 923 F.2d at 217.
          ______                                _________

                    Ample record evidence supported  the $50,000 valuation.

          Eisemann testified, based  on his considerable experience  in the

          real  estate leasing  field, that  the Number, like  other vanity

          numbers, had inherent value for which would-be users were willing

          to pay.   In  addition, Eisemann and  Levosky testified  to their

          efforts to  close the  deal whereby Levosky  was to  acquire from

          Eisemann the right to use the Number at the agreed $50,000 price.

          Although  their deal could not be consummated,  it was not due to

          their inability to  agree on value:  Levosky  offered $50,000 for

          the  Number;  Eisemann  was amenable  to  accepting  $50,000, but

          wanted  a  larger  downpayment,  which Play  Time  was  unable to

                                          19














          manage.

                    WorldCom  focuses on an  admission by Eisemann  that he

          was motivated, in  part, to release  his rights to the  Number in

          order to  get Levosky, who had named him  as a party defendant in

          the lawsuit, "out of his hair."  WorldCom relies also on a letter

          from Play Time's counsel to Eisemann,  which provided in relevant

          part: 

                    My client, Play-Time, offers to enter into an
                    option agreement  whereby Play-Time  pays you
                    (or the  entity that controls the  Number, if
                    different from you), $5000.00 for the  option
                    to purchase the right to use the Number for a
                    total  of $50,000.00  (i.e., $45,000.00  plus
                    the  $5000.00 down  payment).   In  addition,
                                                    __  ________
                    Play-Time would waive  its claims against you
                    _________ _____ _____  ___ ______ _______ ___
                    for  specific  performance, in  exchange  for
                    ___  ________  ___________  __  ________  ___
                    your full  cooperation in  providing credible
                    ____ ____  ___________ __  _________ ________
                    testimony  as to the fair market value of the
                    _________  __ __ ___ ____ ______ _____ __ ___
                    Number, the  details of  which can  be worked
                    ______
                    out later.

          (Emphasis  added.)   WorldCom  argues that  this letter  makes it

          clear  that  at least  a portion  of the  $50,000 agreed  upon by

          Eisemann  and  Levosky  represented  the  value  of  Play  Time's

          agreement to drop its lawsuit against Eisemann.

                    Although  WorldCom  proposes   an  entirely  reasonable

          interpretation,  another  is  that  the  letter  memorializes two

          distinct  offers:  the  first  to  pay a  total  of  $50,000  for

          Eisemann's rights  in the Number;  the second to drop  the claims

          against Eisemann in exchange for Eisemann's trial testimony as to

          the value of the Number.   Thus, the WorldCom contention that the

          $50,000 figure had  not been based  entirely on the value  of the

          Number  did  not  preclude  a  reasonable  jury  finding  to  the


                                          20














          contrary.  Accordingly, we conclude  that the evidence on damages

          was  adequate  to  withstand  the  WorldCom  motion  for  summary

          judgment,  and  that the  district  court committed  no  error in

          submitting the case to the jury.13

          3.   Mass. Gen. Laws ch. 93A,  11
          3.   Mass. Gen. Laws ch. 93A,  11
               ____________________________

                    Finally,  WorldCom  contends  that  the district  court

          erred in awarding Play Time  treble damages under Mass. Gen. Laws

          ch.  93A,    11.    Chapter  93A generally  proscribes  "[u]nfair

          methods of competition and unfair or deceptive acts or  practices

          in the conduct  of any trade or  commerce."  Mass. Gen.  Laws ch.

          93A,   2  (1984).    An  unfair  or  deceptive  practice  between

          businesspeople is  not actionable  under section  11 unless  "the

          actions and  transactions constituting the  alleged unfair method

          of competition or the  unfair act or practice occurred  primarily

          and substantially within the commonwealth."   Mass. Gen. Laws ch.

          93A,   11 (West  Supp. 1996).  WorldCom contends that  any unfair

          action in this  case did not occur  "primarily and substantially"

          within Massachusetts.

                    The  trial court findings  on the "nature,  extent, and

          place  of performance"  of WorldCom's  actions  are reviewed  for

          clear error  only.  Clinton  Hosp. Ass'n. v. Corson  Group, Inc.,
                              _____________________    ___________________

          907 F.2d  1260, 1264  (1st Cir. 1990).   On  the other  hand, the
                              
          ____________________

               13Alternatively,  WorldCom   homes  in  on   the  Play  Time
          negligence  claim,  arguing that  there  can be  no  recovery for
          negligence  unless Play Time sustained injury  to its "person" or
          property.   We need  not discuss this  argument, however,  as the
          $50,000  damages award  is sustainable  simply on  the  breach of
          contract claim.  See, e.g., Hubbard v. Faros Fisheries, Inc., 626
                           ___  ____  _______    _____________________
          F.2d 196, 201 n.3 (1st Cir. 1980); see also supra pp. 8-9.
                                             ___ ____ _____

                                          21














          district court's ruling that WorldCom  failed to carry its burden

          of  proving  that  its   conduct  "primarily  and  substantially"

          occurred outside Massachusetts, see Mass. Gen. Laws ch. 93A,  11,
                                          ___

          raises a question of law for de novo review.  Roche v. Royal Bank
                                       __ ____          _____    __________

          of Canada, 109  F.3d 820, 829 (1st  Cir. 1997); see also  Clinton
          _________                                       ___ ____  _______

          Hosp., 907 F.2d at 1264.
          _____

                    In  determining that WorldCom's actions were unfair and

          deceptive, the district  court focused especially on  the conduct

          of Joseph Shannon,  which it considered entirely  appropriate but
                                                                        ___

          for WorldCom's  extant agreement  with Levosky.   The  court also
          ___

          relied  on the testimony  of Charles Hurd,  Shannon's supervisor,

          who  expressed the view  that WorldCom management  had mistreated

          Play Time.  Finally, the court identified the off-color remark by

          Brady  Buckley, see  supra p.  6, as  "perhaps the  most dramatic
                          ___  _____

          demonstration of [WorldCom]'s thumb-their-nose attitude."  As the

          district  court determined, all these actions took place entirely

          within Massachusetts.  The district  court further found that the

          investigation  conducted  by Deborah  Surrette  and  Kelle Reeves

          amounted  to  mere  "window  dressing,"  thereby   enhancing  the

          deceptiveness and unfairness to Play Time. 

                    WorldCom  mounts no serious challenge to these district

          court findings.   Instead, it  argues that most of  the allegedly

          unfair and  deceptive conduct  took place  outside Massachusetts.

          In  particular,  it accurately  points  out that  the  Number was

          assigned to  Eisemann by  a salesperson in  Indiana and  that the

          ultimate decision to allow Eisemann to retain the Number was made


                                          22














          in New Jersey.

                    The Supreme  Judicial Court has outlined  a "pragmatic,

          functional approach," Roche,  109 F.3d at  829; see also  Makino,
                                _____                     ___ ____  _______

          U.S.A.,  Inc. v. Metlife  Capital Credit  Corp., 518  N.E.2d 519,
          _____________    ______________________________

          523-24 (Mass.App.Ct. 1987), further app. rev. denied, 521 N.E. 2d
                                      _______ ____ ____ ______

          398  (Mass. 1988),  for  determining whether  alleged  misconduct

          occurred "primarily  and substantially"  in  Massachusetts.   See
                                                                        ___

          Bushkin Assocs., Inc. v. Raytheon Co., 473 N.E.2d 662, 672 (Mass.
          _____________________    ____________

          1985).14  Its  approach has been  distilled into three  principal

          inquiries:  "(1) where the defendant committed the deception; (2)

          where plaintiff was deceived and  acted on the deception; and (3)

          the situs  of plaintiff's losses  due to the deception."   Roche,
                                                                     _____

          109 F.3d  at 829; see  also Clinton  Hosp., 907 F.2d  at 1265-66;
                            ___  ____ ______________

          Bushkin, 473 N.E.2d  at 672.   As we noted  in Clinton  Hospital,
          _______                                        _________________

          however, in approaching  the second Bushkin inquiry  the location
                                              _______

          of the person  to whom the  deceptive statements  are made is  of
                         __ ____

          special significance, as  distinguished from the location  of the

          person  who  uttered  the  deceptive   statements,  since  "[t]he
                  ___  _______

          victim's  ingestion of a  deceptive statement and  the subsequent

          effects from reliance on it are what give the deceptive statement

          its venomous sting."  Clinton Hosp., 907 F.2d at 1265-66.
                                _____________

                    The  district  court  analyzed only  the  first Bushkin
                                                                    _______
                              
          ____________________

               14Although  Bushkin  construed  the  operative  language    
                           _______
          "primarily and substantially"     in  the context  of Mass.  Gen.
          Laws ch. 93A,   3(1)(b)(i), as appearing in  St.1967, c. 813, see
                                                                        ___
          Clinton Hosp., 907 F.2d at 1264, ch. 93A,   11 uses the identical
          _____________
          language.   See  id.   Accordingly, we  have applied  the Bushkin
                      ___  ___                                      _______
          factors to    11 as well.   See id.; see also Roche,  109 F.3d at
                                      ___ ___  ___ ____ _____
          829-31 (referring to "Clinton Hospital factors").
                                ________________

                                          23














          factor,  finding that  the  conduct  on which  it  focused     in

          particular, the actions of Joseph Shannon and Brady  Buckley, see
                                                                        ___

          supra  pp.  4-6     all  took place  in  Massachusetts.   We have
          _____

          explained,  however, that the  first Bushkin factor  is the least
                                               _______

          weighty.  Roche, 109 F.3d  at 829; see also Compagnie Reassurance
                    _____                    ___ ____ _____________________

          d'Ile de France v. New England Reinsurance Corp., 57 F.3d 56,  90
          _______________    _____________________________

          (1st Cir.), cert.  denied, 116 S. Ct. 564  (1995); Clinton Hosp.,
                      _____  ______                          _____________

          907 F.2d at 1265-66.  Although we agree  with the district court,

          other weightier  factors cut against  WorldCom as well.   All the

          unfair or  deceptive statements  made by  WorldCom's agents  were

          visited  upon Play  Time in  Massachusetts.   It  was there  that

          Levosky dealt with Joseph Shannon; learned that WorldCom's Revere

          office would not  try to retain the Number for  Play Time because

          Buckley  believed any  potential  revenues were  inconsequential;

          learned the  results of Surrette's superficial investigation; and

          was provided  with  the numerous  pretexts  by WorldCom  for  not

          obtaining the Number for Play Time.

                    WorldCom, on the other hand, misplaces primary reliance

          on  the location  of the  WorldCom agents  who made  the ultimate

          adverse decision  (Surrette and Reeves  in New  Jersey), and  the

          WorldCom sales  office (Indiana)  which obtained  the Number  for

          Eisemann.  But the district court did not find the actions of the
                                                ___

          Indiana  sales agent  part  and parcel  of  WorldCom's unfair  or

          deceptive  conduct.15   Moreover,  as  we have  noted,  the first
                              
          ____________________

               15Similarly, WorldCom's  Indiana agent  would not have  been
          able   to  assign   the  Number   to   Eisemann  had   WorldCom's
          Massachusetts  employees followed  through on  the commitment  to

                                          24














          Bushkin factor  is the least  weighty.  Finally, the  location of
          _______

          Surrette and  Reeves is  insufficient to  overcome the  competing

          evidence which must be weighed under the other Bushkin factors   
                                                         _______

          including  Levosky's receipt of  the results of  the Surrette and

          Reeves "investigation" in Massachusetts    all of which indicates

          that the unfair and  deceptive behavior took place  primarily and

          substantially within  Massachusetts.   Thus,  WorldCom failed  to

          carry  its burden of  proving that the Chapter  93A claim was not

          actionable. 

                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    As  we conclude that all contentions raised by WorldCom

          on appeal were waived or  meritless, the district court  judgment

          is affirmed.  Costs are awarded to Play Time.  
             ________

                    SO ORDERED.
                    SO ORDERED.
                    __________


















                              
          ____________________

          Play Time.   See supra  p. 5  (Indiana agent able  to obtain  the
                       ___ _____
          Number only  because Revere  agents failed  to enter  Play Time's
          order in computer).

                                          25









